Case 2:85-cv-04544-DMG-AGR Document 1230 Filed 02/18/22 Page 1 of 2 Page ID
                                #:46568
                    UNITED STATES COURT OF APPEALS
                                                                     FILED
                           FOR THE NINTH CIRCUIT
                                                                     FEB 18 2022
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 JENNY LISETTE FLORES,                        No. 20-55951

               Plaintiff - Appellee,
                                              D.C. No. 2:85-cv-04544-DMG-AGR
   v.                                         U.S. District Court for Central
                                              California, Los Angeles
 MERRICK B. GARLAND, Attorney
 General; et al.,                             MANDATE

               Defendants - Appellants.




 JENNY LISETTE FLORES,                        No. 20-56052

               Plaintiff - Appellee,
                                              D.C. No. 2:85-cv-04544-DMG-AGR
   v.                                         U.S. District Court for Central
                                              California, Los Angeles
 MERRICK B. GARLAND, Attorney
 General; et al.,

               Defendants - Appellants.


        The judgment of this Court, entered June 30, 2021, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.
Case 2:85-cv-04544-DMG-AGR Document 1230 Filed 02/18/22 Page 2 of 2 Page ID
                                #:46569
                                         FOR THE COURT:

                                         MOLLY C. DWYER
                                         CLERK OF COURT

                                         By: Rebecca Lopez
                                         Deputy Clerk
                                         Ninth Circuit Rule 27-7
